4:05-cr-03032-RGK-DLP   Doc # 71   Filed: 09/28/05   Page 1 of 1 - Page ID # 134



                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )
                                    )                 4:05CR3032
          v.                        )
                                    )
RICARDO PERALES,                    )
SILVANO MICHEL and                  )                    ORDER
JESSICA YVONNE SERVIN,              )
                                    )
                Defendants.         )
                                    )



     The suppression hearing in this matter was previously
continued until further order, pending resolution of the conflict
of interest issue and any appointment of new counsel.              Counsel
have now appeared for all defendants and the government has
requested that the suppression hearing be reset.


     IT THEREFORE HEREBY IS ORDERED,

     A hearing on the defendants’ motions to suppress, filings
21, 22, 34 and 39, is set for October 25, 2005 at 11:00 a.m.
before the undersigned magistrate judge in Courtroom 2, United
States Courthouse and Federal Building, 100 Centennial Mall
North, Lincoln, Nebraska.

     Defendants are required to be present.

     DATED this 28th day of September, 2005.

                                   BY THE COURT:


                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
